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IN THE UNITED STATES DISTRICT coURT
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AN'I`HONY FORSTER ,
Plaintiff,
vs. No. 04-2661-D/V

BOBBY REYNOLDS, et al. ,

Defendants.

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ORDER DEN'YING IRREGULAR MO'I'ION

 

Plaintiff, Anthony Forster, prisoner number 126254, an inmate
confined at the Riverbend Maximum Security Facility (RMSI), in
Nashville, who was formerly incarcerated at the West Tennessee
State Prison (WTSP) filed this complaint under 42 U.S.C. § 1983.
By order entered February 22, 2005, the Court dismissed his claims
against WTSP Unit Manager John Cole as unexhausted and directed
that service issue for WTSP Corporal Bobby Reynolds, Officer Snow,
and Officer Mcclur on plaintiff's claim for use of excessive force.

On May 2, 2005, plaintiff filed an irregular motion
“requesting an order directing prison official to assist p;g §§
litigant with material essential in preparing important papers
and/or pleadings with the court.” Plaintiff first alleges that
after receiving the Court's service order, he “submitted a written
request to prison. officials for' assistance in. obtaining legal

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materials in attempt to timely adhere to Rule 59(e) [of the] Fed.
R. Civil Procedure, which states: ‘[A] motion to alter or amend the
judgment shall be served not later than (10) days after entry of
the judgment.'” Forster states that prison officials refuse to
timely assist him in obtaining legal supplies, so that he may abide
by the rule.

Forster next contends that unnamed prison officials at RMSI
deny him access to the courts by handing out pens and supplies to
indigent inmates every 90 days, if the inmate has not been to the
commissary for the past 30 days. Forster contends that if the
purchase of stamps and hygiene or health related products from the
commissary renders him indigent, he is then unable to receive legal
supplies for 30 to 90 days. Forster complains that he is unable to
properly budget his commissary purchases in anticipation of future
court rulings which may require responses.

The Court must first disabuse Forster of the notion that the
service order was a “judgment.” Fed. Rule Civ. P. 54(a) defines
judgment as “a decree and any order from which an appeal lies.”
Plaintiff's complaint presented multiple claims against multiple
parties. The Court's screening order adjudicated fewer than all
the claims or the rights and liabilities of fewer than all the
parties. Therefore, the action was not terminated as to any claim
or party, but remains subject to revision at any time before the

entry of a judgment which adjudicates all claims and the rights and

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liabilities of all the parties. Accordingly, Forster's desire to
file a Fed. Rule Civ. P. 59(e) motion was premature and without
procedural foundation.

The Court expressly declines to substantively address any
claim that Forster’s rights are being violated at RMSI. Those
purported violations do not arise out of the action before this
Court. Forster must exhaust his administrative remedies at RMSI on
his court access claims as required by 42 U.S.C. 1997e(a). He may
then file his lawsuit in the proper forum, the Nashville Division
of the Middle District of Tennessee, the location of RMSI. 28
U S.C. § l23(b)(1).

For all the foregoing reasons, plaintiff's motion is DENIED.

IT Is so 0RDERED this 304*` day of June, 2005.

B CE B. ONALD
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02661 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Anthony Forster

RIVERBEND MAXIMUM SECURITY INSTITUTION
126254

7475 Cockrill Bend Road

Nashville, TN 37209

Honorable Bernice Donald
US DISTRICT COURT

